Case 2:05-cr-20177-SH|\/| Document 70 Filed 06/08/05 Page 1 of 2 Page|D 76

 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 85 `}U§.€ __3 P}-'[ h: l 0
WESTERN DIVISION

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“ u.s. oasr. `1.
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UNITED STATES OF AMERICA

V.

ELISHAH MOODY 05cr201'77-2-Ma

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain
private counsel to represent him in this action. PurSuant to the Speedy Trial ACt,
as set out in 18 U.S.C. §3161(h)(8)(B)(iv), a defendant may be granted a period of
excludable delay While attempting to obtain private counsel

lt is therefore ORDERED that the time period of ,@;/&/05
through 52 /Q; §§ be excluded from the time its imposed by the Speedy
Trial Act for trial of this case, while the defendant is attempting to obtain private
counsel

ARRAIGNMENT IS RESET TO WEDNESDAY, IUI.Y 6, 2005 AT 9:30 A.M. BEFORE

MAGISTRATE IUDGE S. TI'IOMAS ANDERSON.

rhis 3 day 0£ dU\/\€, ,2005.

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this document entered on the docket she l 8

With Hule 55 andfOr 32('0) FRCVP °" NI'I`ED STATES MAGISTRATE ]UDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:05-CR-20177 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

